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 7

 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )       No. 2:11-cr-00190 MCE
                                                     )
                                                     )
12           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
13
     v.                                              )       UNDER SPEEDY TRIAL ACT;
14
                                                     )       FINDINGS
     NICHOLAS RAMIREZ, et al.,                       )
                                                     )       Date: August 29, 2013
15
                                                     )       Time: 9:00 a.m.
             Defendants.                             )       Judge: Honorable Morrison C. England, Jr.
16
                                                     )
                                                     )
17
                                                     )
18
             The United States of America through its undersigned counsel, Jason Hitt, Assistant
19
     United States Attorney, together with counsel for defendant Nicholas Ramirez, Michael B.
20

21   Bigelow, Esq., counsel for defendant Ung Duong, Michael L. Chastaine, counsel for defendant

22   Phat Nguyen, Michael D. Long, Esq., counsel for defendant Justin Nonoguchi, Christopher R.
23
     Cosca, Esq., counsel for defendant Frank Alioto, John R. Manning, Esq., counsel for defendant
24
     Manuel Keith, Jan D. Karowsky, Esq., counsel for defendant Tiffany Brown, Dina L. Santos,
25

26
     Esq., and counsel for defendant Andre Cawthorne, Scott L. Tedmon, Esq., hereby stipulate the

27   following:
28
          1. By previous order, this matter was set for status conference on July 18, 2013.


                                                         1
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        2. By this stipulation, defendants now move to continue the status conference until August
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 2   29, 2013 and to exclude time between July 18, 2013 and August 29, 2013 under the Local Code

 3   T-2 and T-4.
 4
        3.   The parties agree and stipulate, and request the Court find the following:
 5
             a. This case was the product of a lengthy investigation in which wiretaps were utilized
 6

 7
                on multiple telephones. The government has produced discovery which to date

 8              includes over 2,000 pages containing wiretap applications, periodic reports, and
 9              investigative materials. Additionally, the government has provided defense counsel
10
                with voluminous wiretap conversations. Given this large volume of discovery, the
11
                defense counsel needs additional time to review the discovery and consult with their
12

13              respective clients.

14           b. The Government does not object to the continuance.
15
             c. Based on the above-stated findings, the ends of justice served by granting the
16
                requested continuance outweigh the best interests of the public and the defendants in
17
                a speedy trial within the original date prescribed by the Speedy Trial Act.
18

19           d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

20              Section 3161(h)(7)(A) within which trial must commence, the time period of July 18,
21
                2013 to August 29, 2013 inclusive, is deemed excludable pursuant to 18 United States
22
                Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local Code T-2
23

24
                and T-4 because it results from a continuance granted by the Court at defendant’s

25              request on the basis of the Court’s finding that the ends of justice served by taking
26              such action outweigh the best interest of the public and the defendant in a speedy
27
                trial.
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                                                      2
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       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 1

 2          Speedy Trial Act dictate that additional time periods are excludable from the period within

 3          which a trial must commence.
 4
     IT IS SO STIPULATED.
 5

 6

 7   Dated: July 16, 2013                                         /s/ Michael B. Bigelow
 8
                                                                  MICHAEL B. BIGELOW
                                                                  Attorney for Defendant
 9                                                                Nicholas Ramirez
10   Dated: July 16, 2013                                         /s/ Michael L. Chaistaine
11
                                                                  MICHAEL L. CHASTAINE
                                                                  Attorney for Defendant
12                                                                Ung Duong
13
     Dated: July 16, 2013                                         /s/ Michael D. Long
14                                                                MICHAEL D. LONG
                                                                  Attorney for Defendant
15                                                                Phat Nguyen
16
     Dated: July 16, 2013                                          /s/ Christopher R. Cosca
17                                                                CHRISTOPHER R. COSCA
                                                                  Attorney for Defendant
18                                                                Justin Nonoguchi
19
     Dated: July 16, 2013                                          /s/ John R. Manning
20                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
21                                                                Frank Alioto
22
     Dated: July 16, 2013                                          /s/ Jan D. Karowsky
23                                                                JAN D. KAROWSKY
                                                                  Attorney for Defendant
24                                                                Manuel Keith
25
     Dated: July 16, 2013                                         /s/ Dina L. Santos
26                                                                DINA L. SANTOS
                                                                  Attorney for Defendant
27                                                                Tiffany Brown
28




                                                      3
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     Dated: July 16, 2013                                         /s/ Scott L. Tedmon
 1
                                                                  SCOTT L. TEDMON
 2                                                                Attorney for Defendant
                                                                  Andre Cawthorne
 3

 4

 5
     Dated: July 16, 2013                                         Benjamin B. Wagner
 6                                                                United States Attorney
 7
                                                                  by:/s/ Jason Hitt
 8                                                                JASON HITT
                                                                  Assistant U.S. Attorney
 9

10
                                                  ORDER
11

12          Pursuant to the parties’ stipulation, IT IS SO ORDERED. The status conference
13   currently scheduled for July 18, 2013, is hereby vacated and continued to August 29, 2013, at
14   9 a.m. in Courtroom 7. The time period between July 18, 2013 and August 29, 2013 is excluded
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     under the Local Code T-2 and T-4 for the reasons stated in the parties’ stipulation.
16
     Dated: July 23, 2013
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